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                Attorneys for Debtor

                                   IN THE UNITED STATES BANKRUPTCY COURT

                                             FOR THE DISTRICT OF ALASKA


                In re:

                ALASKA UROLOGICAL INSTITUTE, P.C.,                                Case No.: 2O-xxxxx GS

                                                                                  Chapter I I
                                                  Debtor.



                                           DECLARATION OF TINA PRESLEY
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Yi                       l.       My name is Tina Presley. I am the Chief Executive Officer of Alaska
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           -    Urological lnstitute, P. C. ("AUI" or "Debtor"). I make the statements herein based
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Et=6>           upon my personal knowledge, and I declare under penalty of perjury that the statements
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U EY;           are true and correct to the best of my knowledge.
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                                                            Introduction
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                         2.       AUI is an Alaska corporation that is 50olo owned by Dr. Robert    C.   Allen
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?o              Jr. and 50%by Dr. William R.       Clark.    Doctors Allen and Clark are both urologists.
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                         3.       AUI provides medical services to the public in the areas of urology,

                oncology, radiation oncology, surgery, breast reconstructive and cosmetic surgery,



                Page I            DpcLaRauoN oF TrNa PRssr-py
                                  H :\3 3 O2\Ivlain\Dec laration of Tina Presley.wpd
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                   pulmonology and hematology, and integrative medicine. AUI also conducts clinical

                   research through a division it refers to as the Alaska Clinical Research Center (ACRC).

                   ACRC has 32 ongoing trials with patients enrolled in all stages of cancer therapy,

                   vaccine studies and new antibiotic drugs in development. Continuation of these

                   treatments are critical to preserve health safety and new treatment regimens for present

                   and future patient   lives. AUI   has approximately 25,000 patient visits per year, and

                   typically sees 95 to 130 patients per day. AUI employs approximately 84 persons,

                   including physicians.

                           4.     AUI's place of business is 188 West Northern Lights Boulevard,

                   Anchorage, Alaska. AUI provides its radiation oncology services on the first floor of that

                   building, under the name Alaska Cancer Treatment Center ("ACTC"). AUI provides its

                   imaging services on the first floor, and the rest of its medical services on the eighth floor

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              C)
                   of that building, under the name Alaska Urological Institute. A related non-debtor entity,
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              0)   Alaska Medical Center, LLC ("AMC"), which is 100% owned by Dr. Clark, is a surgery
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              x.   center under the name Aurora Surgery, is discussed below.
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                           5.     In addition to Doctors Allen and Clark, AUI's physician employees are
IIF> FY;
Q<aiE              Dr. Lawrence Strawbridge (urology), Dr Joshua Logan (urological oncology), Dr. Mary
)+ PEI
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F E€9              Jo Wright (breast and plastic surgery), Dr. Ulyana Stiassny (primary care), and Dr.
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a'-46
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IJ_                Marek A. Martynowicz (pulmonology). AUI's ACTC physician employees are Dr. Larry
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Iro           Fl
oo\                Daugherty (radiation oncology), Dr. Jason Call (radiation oncology), and Dr. Musaberk
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=l-C          *    Goksel (oncology and hematology), and Dr. Markian Babij (naturapathic oncologist).




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                                                              Financial performance

                                 6. The following   chart shows revenue, and operating losses, for the past three

                        years:


                                                                   2017                 201 8                  20t9
                         Revenue                          $   18,630,234        $21,434,904            $21,140,955

                         Profit (loss)                        ($616,455)        ($1,731,258)           (s3,162,552)

                        These figures are from   AUI's in-house unaudited financial statements. Attached as

                        Exhibit A hereto are the financial statements for 2019, and2020 YTD.

                                 7.      AUI's Chapter l l filing was necessitated by a number of both long term

                        and short term factors. Between 2012 and20l5,       AUI was in partnership with USMD

                        Health System ("USMD"), a national medical practice management company. The

                        partnership was not successful, and in 2015 AUI bought out USMD's interest in the


                  (l)
                        practice. This purchase left AUI undercapitalized. AUI then added specialty physicians
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t-l(1)                  in a variety of areas in an effort to bolster its ability to become a comprehensive cancer
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A-                o     treatment center. Due to the remoteness of Alaska and the difficulty of attracting quality
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         *              professional staff, these physicians were provided salaries that in same cases exceeded
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                        those physicians' contribution towards the business's net revenue. The business logic
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rr q?€o                 behind this decision was the expectation that the physicians would be able to grow their
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l-l-        \rn
U-            c{        practice to a level commensurate with their salaries; however, often this did not occur.
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tuo
oo\                     Other factors contributing to   AUI's financial problems were that the shift of AUI's payer
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              o.        mix - away from patients with private insurance, and towards patients covered by

                        Medicare and Medicaid - has resulted in a long term downward trend in revenue. This


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                   change in payer mix is a function of, among other things, the steadily deteriorating

                   Alaska economy, and the aging of Alaska's population. Other problematic factors

                   include    AUI's above-market   lease rates   for its space at 188 West Northern Lights

                   Boulevard, Anchorage, and the fact that AUI has subsidized AMS, to the extent of

                   approximately $1,464,525 from 2017 to the present. These latter factors are discussed

                   below.

                              8.     The recent coronavirus pandemic has also been a sudden, and substantial,

                   negative factor. In the past few weeks, AUI has seen a steep decline in patient visits.

                   Also, the pandemic has resulted in a suspension of elective surgical procedures, under

                   guidelines and standards set forth by the American College of Surgeons. This has

                   resulted in cancellation of some scheduled procedures, and has also created great

                   uncertainty going forward as to what extent surgical procedures are permissible.

                                                     Payroll taxes due the IRS
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Prd                           9.     The following chart shows the current status of payroll taxes due by AUI:
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J .J        x.      Period                                       Tax         Penalty   &   interest               Total
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                    Ql    2020                          $641,287                           $10,334            $65t,621
9F> E5:             Q4 2019                             $238,392                           $4,7698            $243,160
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                    Q3 20le                             $252,243                           $60,237            $312,380
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= 4 @                                                   $373,053                           $94,655            $467,708
U)'-                Q22019
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for
tro    Fl           Ql    2019                           $69,858                                               $69,858
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F9                  Totals                                                                                  91,744,726
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                              10.    As of March25,2020 ("the Petition Date"), the IRS had not yet filed           a


                   federal tax lien, but on starting on February       27   , 2020, and continuing daily thereafter,

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                    IRS has intercepted all payments due to AUI from the federal government, primarily

                    payments due from Medicare and Medicaid, and applied those payments to payroll taxes

                    owed. Through to and including March 19,2020, the total amount intercepted is

                    $133,479.70.

                                               The Northrim Funding Services Loan

                             I   1.   AUI's primary lender is Northrim Bank. Northrim Funding Services

                    ("Funding"), a division of Northrim Bank, provides a line of credit pursuant to a C

                    of Sale and Assignment Agreement, and related documents. The documents call for AUI

                    to sell all of its accounts receivable to Funding, at   a   price equal to a percentage of

                    Eligible Invoices, a defined term, less a l.00Yo monthly discount fee. The arrangement

                    with Funding is equivalent to a line of cre dit at lzyo annual interest secured by all of

                    AUI's receivables.

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                             12.      The Funding loan documents call for all payment due AUI to be deposited
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ib                  into a lockbox under Funding's control, and for Funding to advance funds to AUI from
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zo             !?   time to time. One of Debtor's first day motions requests that this Court order Funding to
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         t          remit to Debtor, on a daily basis, proceeds received by Funding after the Petition Date.
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F>                  As detailed below, these post-petition lockbox receipts are necessary for Debtor to
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I E€"               continue its post-petition operations.
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U-            Gl                           Northrim Bank loans; Anchorage office            lease
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oo\                          13.      The owner of the 188 West Northern Lights Boulevard building is Ruby
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              0.    Investments, Inc.   ("Ruby"). Ruby's     lease   with AUI commenced in2012 and runs

                    through May 31, 2024,withoptions to extend thereafter. The leased premises are the

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                  entire 8tr'floor of the building, approximately 13,500 square feet, plus approximately

                  9,362 square feet in the southwest corner of the ground       floor.   The AMC surgery center,

                  and the   AUI imaging center, are in separate offices on the ground floor.

                            14.    There is also a lease from Ruby to Anchorage Cancer Treatment Center,

                  LLC, covering approximately 4,900 square feet of space on the northwest corner of the

                  ground floor    of   188 West Northern Lights Boulevard. There is no entity named

                  Anchorage Cancer Treatment Center, LLC; instead, Anchorage Cancer Treatment Center

                  (ACTC) is a division of AUI. Both the Ruby lease with AUI,             and the lease nominally to

                  Anchorage Cancer Treatment Center, Inc., contain similar or identical provisions, apart

                  from a description of the leased premises, and rental rates. Both leases terminate on May

                  31,2024, and have identical renewal provisions.

                            15.    The current monthly rent is 9102,929.81 on the        AUI lease, and$24,237.

                  on the ACTC lease, including rent, taxes, insurance and utilities, for a total monthly rent
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llO               to Ruby of 8127 ,167.50. Rent is paid through February 29,2020.
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          -9a               16.    In order to secure AUI's and ACTC's obligations to Ruby, in2012
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   JA*            Northrim Bank issued two letters of credit to Ruby, one in the original amount $750,000
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F>-(i             for the AUI lease, and the other in the original amount $250,000 for the ACTC lease.
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                  The lease documents provide that the letters of credit shall be renewed each year, but the
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U-        c.t     amount shall be reduced by $75,000 each year for the         AUI   lease, and $25,000 each year
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oo\               for the ACTC lease. The Northrim letters of credit are secured by a deed of trust on the
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              A   leasehold. The current total of the two letter of credit is $400,000 ($300,000 on the AUI

                  letter of credit and    $   100,000 on the ACTC letter of credit), and the next anniversary date


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                          is August   3t.2020.
                                                                                                                           I
                                  17.    AUI anticipates that Ruby will, in the near future, call on the letters   of
                                                                                                                           I
                          credit to cure the outstanding rental   arrearages.
                                                                                                                           I
                                  18.    Tenant improvements at the leased premises were financed by two          loans
                                                                                                                           I

                          from Northrim Bank: Loan No. 874-l to AUI, and Loan        l6l-l   to ACTC. The combined
                                                                                                                           l

                          amount due on the two loans is $5,530,471.23. Monthly payments are $101,454.00            and
                                                                                                                           I
                          are paid through January, 2020; the arrearage owed for February and March       is
                          $2o2.eo8.oo.                                                                                     I




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                                      Pre- and post-petition payroll; physician salaries going     forward
                                                                                                                           I

                                  19.     AUI's most recent payroll immediately preceding the filing of this
                                                                                                                           I
                          Chapter 11 petition was made on March 20,2020. This payroll covered the period
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                          February 24,2020 through March       8,2020.   There were not sufficient funds on hand      to
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                 ()       cover the entire payroll, so the non-physician employees were paid, but the    physician
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LJ,;
ib^>\                     employees were   not. Subject to approval of this Court, AUI's intention    is to pay   the
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< <.'l Xr physician employees (excepting Doctors Allen                      and Clark), on March 27,2020; i.e.,     a
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                          one-week deferral of the physician payroll for the period February 24,2020      through
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                          March 8,2020. Thereafter, non-physician payroll for the period March 8,2020 through
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                          March 2l,2l20,will     be paid on   April 3, 2020, andthe non-physician payroll will     be naidl
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ftuoo, Fl
oo\                             l;.*-:,:::"::d           above, one orthe major reasons AUr has     experienced
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                 o.       financial difficulties is that overall, AUI has paid its physician employees salaries that ar]

                          in excess of those physicians' contributions to the company's revenue, after considerationl

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                      for overhead and other non-physician employee expense. In the past few months, and

                      continuing forward, AUI is dramatically readjusting its physician salaries, both in terms

                      of amount and also in terms of the salaries depending in part on financial performance.

                      This effort is a work in progress.

                               21.    Debtor is currently developing viable salary structures for its physician

                      payroll, but in the near term, the second post-petition physician payroll will be made on

                      April   10, 2020. Debtor intends to pay each physician $5,000 as a partial payment on that

                      physician's pay, with the balance of the physician's payroll to be paid, with the approval

                      of this Court, at a later date.

                               22.    One of Debtor's first day motions is a motion for authority to pay pre-

                      petition wages, payroll taxes, and benefits to its physician and non-physician employees.

                      Those benefits include vacation and leave benefits, and health insurance. The


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                      uninterrupted payment of these pre-petition obligations is critical to the reorganization


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                      effort, because to interrupt payment to the both the physician and non-physician
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                X.    employees would undermine morale and support that is crucial to the Debtor's efforts to
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                      reorganize. Many of Debtor's non-physician employees cannot absorb a deferral       of
9F> EY:               payment of their salaries for months on end, and Debtor's physician employees are
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                      critical to the ability of the Debtor to continue to provide medical services. AUI does
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U_      N             have a 401(k) plan with its employees, but does not intend to make payments on that plan
for     Fl
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oo\                   during this Chapter I   l.
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                o.                            Cash flow projectionsl use of cash collateral

                               23.    Attached as Exhibit B hereto is a week by week projection, for the next


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                four weeks, of AUI's projected cash flow. This cash flow was prepared by Leonard

                Horst, AUI's Chief Financial Officer, but I was significantly involved in developing

                these   projections. These cash flow projections form the basis of AUI's motion for

                permission to use cash collateral. These projections incorporate the adjustments in

                physician salaries just described.

                         24.     Also included in the projections is a line item of $1,000 per week for

                patient refunds. Patient refunds paid out during 20 1 9 were $5 I ,063. AUI requests

                authority to pay patient refunds in the ordinary course. This is important in order to

                maintain patient goodwill, and because the refunds are essentially the patients' own

                money.     Because of confidentiality concerns, and because          AUI requests authority to pay

                patient refunds in the ordinary course, AU['s patients due refunds are not included in the

                AUI's    schedules of assets and liabilities.


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           6             25.     One important assumption of the projections at Exhibit B is that the
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0ril
  G>\           Debtor's receivables, which are collected by Northrim Funding after the Petition Date,
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                and which would - absent this Chapter I         I filing -   be deposited into the Northrim
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                Funding lockbox and then remitted, from time to time, from Funding to Debtor
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o;,itr          to the Funding loan documents, be remitted from Funding to Debtor on a daily basis.
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  Ef            The projections assume that, starting on Monday, March 30,2020, Debtor               will   receive
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9-       c'l    approximately $200,000 per week from patient fee receivables. This $200,000 are the
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oo\             funds that are currently being deposited into the lockbox. Without these funds, the
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           o-   Debtor cannot continue to operate.

                                                            DIP Loan

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                            26.           In order to operate through the opening weeks of this Chapter l1 case,

                    AUI needs cash in addition to the lockbox receipts. Doctors Allen and Clark are willing

                    to continue to work as full time employees of the business, and defer payment any salary

                    for at least the first month of the Chapter I l; and in addition, are willing to loan AUI up

                    to $200,000, secured by a priming lien on AU['s receivables , at zero interest, payable on

                    the earlier of   (I   ) confirmation of a plan, (2) dismissal of this case, (3) cessation of

                    Debtor's regular business operations; (4) an order from this Court; or (5) September               l,

                    2020. This financing is more favorable than can be obtained from any other source. One

                    of Debtor's first day motions is for authority to borrow up to $200,000 on these terms.

                                     The Aurora Surgery Center - Alaska Medical Center, LLC

                            27.           As mentioned above, the Aurora Surgery Center a dba of Alaska Medical

                    Center, LLC      ("AMC"). AMC         is an Alaska limited liability company wholly owned by


               6    Dr. William Clark. I am the non-member manager of that               LLC.     The Aurora Surgery
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Yi
nrd                 Center is a surgical center located on the ground floor        of   188 West Northern Lights.
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       x.           AMC is a subtenant of AUI atthat location. AUI leases its employees to AMC, and
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   J'a*             AMC reimburses AUI for those costs.
F> EY:
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I < s,F                     28.           Of particular interest in light of the current coronavirus crisis that AMC

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                    has two ventilators,       which can be modified to serve four patients. Ventilators are in very
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L.)-   ..r          short supply throughout the country, and throughout the             world.   See,   for example, the
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               0.   https://www.washingtonpost.com/business/2020/03l24lstamble-medical-equipment-des

                    cends-into-chaos-us-states-hospitals-compete-rare-supplies/            ("A mad scramble for

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                 gown and ventilators is pitting states against each other and driving up prices. ...

                 Hospitals are ... considering using ventilators designed for large animals because they

                 cannot find the kind made for people.")

                          29.    AMC is not a debtor in this bankruptcy. It is not   a debtor of   Northrim

                 Funding, or of Northrim Bank. AMC does not have employees, and so does not have a

                 liability to the IRS. AMC's   assets consist   of approximately $376,000 of receivables and

                 other current assets, approximately $486,791 of third party trade debt, and alarge

                 account payable to   AUI.   Debtor has recently reviewed and restated that payable, and

                 has determined that, as of March     1,2020, the payable owed by AMC to AUI is

                 $1,464,525.

                          30.    AUI and AMC have agreed that, during the pendency of this Chapter I I

                 case,   AMC will promptly pay AUI for any and all post-petition expenditures made by

            I
            ()   AUI on behalf of AMC.       See   Exhibit C hereto, a letter agreement dated March 15,2020,
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FrU              and the associated agreement dated June 1,2019.
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av,1       -o                                      Arizona administrative office
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                          31.     AUI maintains an administrative office, under the name Alaska Medical
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                 Specialties, at 3550 Challenger Drive, Lake Havasu, Arizona. J&G Real Estate

d:5:
  E€9            Investments One, LLC, an unrelated real estate investment company, is the landlord. The
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U-               leased space is 5,787 square feet. Rent is $4,150 per month and is current through
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          C.I
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oo\              January, 2020. The lease term expires October 31,2023.
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'-l        o-              32.    The Arizona office has 16 employees. The office performs many         of

                 AUI's medical billing   and administrative functions, at roughly half the cost of what


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                   equivalent office space, overhead, and payroll would cost in Alaska.         I   spend

                   approximately 20o/o of my time at the Arizona office, and the rest in Alaska.

                                                              Patient safety

                             33.    AUI's first    and foremost concem is patient safety. In my opinion,       filing

                   this Chapter l   l will   not have any negative impact on the medical welfare or well being ol

                   AUI's patients. In fact, the stabilizing effect of a Chapter I I   case   will   have a beneficial

                   effect, because it will preserve and protect the ability of AUI to provide quality medical

                   care.

                            Dated March 25,2020.


                                                                  -7--'
                                                                     Tina Pr-esley

                   List of Exhibits
                   A Financial statements for 2019, and 2020 YTD
                   B Cash flow projections
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            I
              ()   C Letters dated March 15,2020 and June 1,2019
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Frb
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Ad
              -    CpRrruc,rrE oF SBnvtcB
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<t a\        X.    The undersigned hereby certifies that on March 25,2020, a true and correct copy of the
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                   above document was served by electronic means through the ECF system as indicated on
IE -^ or -o        the Notice of Electronic Filing.
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                             Margaret Stroble

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4:50 PM                                 Alaska Medical Specialties
01/10/20
                                                                                                            Exhibit A
Accrual Basis                         Combined Balance Sheet                           to Declaration of Tina Presley
   Case 20-00086   Filed 03/25/20      Entered     03/25/20
                                       Revised as of December 31,15:03:53
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                     Ordinary Income/Expense                                12/31/19
                           Income
                              4100-1 ꞏ PATIENT FEES-CLINIC
                                     4108 ꞏ Med/Onc - Drugs         $            2,572,773
                                     4110 ꞏ Med/Onc - Physician     $              558,681
                                  4106 ꞏ Patient Fees- Radiation    $            9,437,413
                                  4107 ꞏ Patient Fees- Integrative  $              454,853
                                  4104-1 ꞏ Revenue - Breast         $              504,612
                                  4108-1 ꞏ Revenue - Urology        $            3,709,665
                                  4111-1 ꞏ Revenue - Primary Care   $              480,742
                                  4112-1 ꞏ Revenue - Aesthetics     $              286,760
                                  4113-1 ꞏ Revenue - Anesthesia     $              352,563
                                  4114-1 ꞏ Revenue - Imaging        $              538,775
                                  4115-1 ꞏ Revenue - Pulmonology    $              408,731
                              Total 4100-1 ꞏ PATIENT FEES-CLINIC    $           19,305,569
                              4103-1 ꞏ ACRC INCOME                  $            1,161,100
                              4107-1 ꞏ MANAGEMENT SERVICES REVE $                   65,047
                              4109-1 ꞏ PATIENT REFUNDS              $              (51,063)
                              4250-1 ꞏ MEDICAL RECORDS              $                  775
                              4915-1 ꞏ RENT INCOME                  $               69,125
                              4925-1 ꞏ EMPLOYMENT REVENUE           $              590,402
                           Total Income                             $           21,140,955
                           Expense
                              5110-1 ꞏ PAYROLL EXPENSE
                                  5100-1 ꞏ PTO Exp - AUI            $               47,972
                                  5111-1 ꞏ EMPLOYEE SIGN ON         $               46,042
                                  5113-1 ꞏ SUPPORT SERVICES PAYROL $               342,137
                                  5119-1 ꞏ IMAGING PAYROLL          $               97,313
                                  5121-1 ꞏ MANAGEMENT PAYROLL       $              382,344
                                  5123-1 ꞏ UROLOGY PAYROLL          $            2,286,180
                                  5125-1 ꞏ BILLING DEPT PAYROLL     $              283,445
                                  5127-1 ꞏ ACRC PAYROLL             $              313,337
                                  5129-1 ꞏ PULMONOLOGY PAYROLL      $              583,960
                                  5138-1 ꞏ BREAST & COSMETIC PAYRO $               758,678
                                  5144-1 ꞏ PRIMARY CARE PAYROLL     $              407,122
                                  5150-1 ꞏ PROCEDURE SUITE PAYROL $                853,008
                                  5130 ꞏ Shared PR Exp              $            1,105,240
                                  5131 ꞏ Oncology PR Exp            $            1,102,632
                                  5132 ꞏ Radiation PR Exp           $            2,354,410
                                  5140 ꞏ Integrative PR Exp         $              579,859
                              Total 5110-1 ꞏ PAYROLL EXPENSE        $           11,543,679
                              5112-1 ꞏ PAYROLL TAX EXPENSE
                                  5114-1 ꞏ SUPPORT SERVICES PAYROL $               30,203
                                  5120-1 ꞏ IMAGING PAYROLL TAX      $               6,245
                                  5122-1 ꞏ MANAGEMENT PAYROLL TAX $                20,911
                                  5124-1 ꞏ UROLOGY PAYROLL TAX      $             106,926
                                  5126-1 ꞏ BILLING DEPT PAYROLL TAX $              23,187
                                  5128-1 ꞏ ACRC PAYROLL TAX         $              25,017
                                  5136-1 ꞏ PULMONOLOGY PAYROLL TA $                19,505
                                  5139-1 ꞏ BREAST & COSMETIC PAYRO $               29,569
                                  5145-1 ꞏ PRIMARY CARE PAYROLL TA $               18,488
                                  5151-1 ꞏ PROCEDURE SUITE PAYROL $                52,526
                                  5133 ꞏ ACTC Misc PR Tax           $              80,545
                                  5134 ꞏ Oncology PR Tax            $              60,603
                                  5135 ꞏ Radiation PR Tax           $              97,855
                                  5141 ꞏ Integrative PR Tax         $              36,785
                              Total 5112-1 ꞏ PAYROLL TAX EXPENSE $                608,363
                              5200-1 ꞏ EMPLOYEE BENEFITS
                                  5201-1 ꞏ HEALTH INSURANCE         $             625,328
                                  5202-1 ꞏ PROFIT SHARING CONTRIBU $              151,639
                                  5203-1 ꞏ EMPLOYEE BENEFITS-OTHER $                4,500
                                  5205-1 ꞏ EMP MEDICAL REIMBURSEM $                   171
                                  5206-1 ꞏ HSA CONTRIBUTIONS        $              10,921
                                  5207-1 ꞏ Gym Memberships          $                 770
4:50 PM                                Alaska Medical Specialties
01/10/20
                                                                                                       Exhibit A
Accrual Basis                         Combined Balance Sheet                      to Declaration of Tina Presley
   Case 20-00086   Filed 03/25/20     Entered     03/25/20
                                      Revised as of December 31,15:03:53
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                            Total 5200-1 ꞏ EMPLOYEE BENEFITS          $      793,159
                            6180-1 ꞏ INSURANCE
                               6181-1 ꞏ MALPRACTICE INSURANCE $              162,035
                               6182-1 ꞏ WORKER'S COMPENSATION $               55,890
                               6183-1 ꞏ LIABILITY INS                 $      123,893
                               6184-1 ꞏ SHAREHOLDER INSURANCE $               53,171
                            Total 6180-1 ꞏ INSURANCE                  $      394,989
                            6270-1 ꞏ PROFESSIONAL FEES
                               5901-1 ꞏ LOCUMS                        $      424,233
                               5902-1 ꞏ PHYSICIAN CONTRACT LABO $             15,526
                               6271-1 ꞏ LEGAL EXPENSE                 $       50,138
                               6272-1 ꞏ ACCOUNTING                    $       19,989
                               6275-1 ꞏ PAYROLL SERVICES              $       15,399
                               6277-1 ꞏ IT SERVICES                   $      246,894
                               6960-1 ꞏ PROFESSIONAL SERVICES $              191,503
                            Total 6270-1 ꞏ PROFESSIONAL FEES          $      963,681
                            6290-1 ꞏ RENT
                               6299-1 ꞏ RENT-FAIBANKS                 $           400
                               6305-1 ꞏ COPIER RENTAL                 $        43,196
                               6306-1 ꞏ RENT NL188                    $     1,488,319
                               6308-1 ꞏ CITRIX LEASE                  $         3,238
                               6309-1 ꞏ RENT- ARIZONA                 $        48,300
                               6313-1 ꞏ Ascentium - Ultherapy Rental $         24,899
                               6316-1 ꞏ COMPUTER EQUIPMENT LEA $               63,399
                            Total 6290-1 ꞏ RENT                       $     1,671,752
                            6310-0 ꞏ REPAIR & MAINTENANCE
                               6301-1 ꞏ REPAIRS & MAINTENANCE         $      147,129
                               6310-1 ꞏ MAINTENANCE AGREEMENTS$              394,479
                            Total 6310-0 ꞏ REPAIR & MAINTENANCE $            541,609
                            6600-1 ꞏ MEDICAL SUPPLY EXPENSE
                               6278-1 ꞏ LABORATORY FEES               $         7,540
                               6771-1 ꞏ MEDICAL SUPPLIES              $       311,186
                               6782-1 ꞏ DRUGS                         $     2,095,038
                               6790-1 ꞏ Medical Implants              $        36,003
                               6791-1 ꞏ Breast & Cosmetic Injectables $       185,411
                               6792-2 ꞏ Breast & Cosmetic Med Suppl $          12,230
                               6793-1 ꞏ Pharmaceutical Expenses       $         5,340
                               6984-1 ꞏ GPO Rebates                   $       (43,216)
                            Total 6600-1 ꞏ MEDICAL SUPPLY EXPENS $          2,609,531
                            66901 ꞏ *Reconciliation Discrepancies     $          (133)
                            6770-1 ꞏ OFFICE EXPENSE
                               6280-1 ꞏ STORAGE/SHREDDING
                                   6280-1 ꞏ STORAGE/SHREDDING - O $           39,126
                               Total 6280-1 ꞏ STORAGE/SHREDDING $             39,126
                               6302-1 ꞏ MOVING EXPENSES               $          950
                               6330-1 ꞏ PRINTING                      $        5,148
                               6772-1 ꞏ OFFICE SUPPLIES               $       68,194
                               6774-1 ꞏ DUES AND SUBSCRIPTIONS $              70,321
                               6776-1 ꞏ POSTAGE AND DELIVERY          $       14,299
                               6905-1 ꞏ DELIVERY/COURIER EXPENS $              3,778
                               7000-1 ꞏ ACRC PATIENT EXPENSE          $      128,689
                            Total 6770-1 ꞏ OFFICE EXPENSE             $      330,504
                            6779-1 ꞏ UTILITIES
                               6279-1 ꞏ INTERNET SERVICES             $        2,567
                               6312-1 ꞏ CABLE                         $        2,125
                               6314-1 ꞏ ELECTRIC                      $      113,821
                               6315-1 ꞏ MEDICAL WASTE                 $       23,449
                               6500-1 ꞏ PHONES                        $      124,529
                               6501-1 ꞏ WATER                         $          849
                            Total 6779-1 ꞏ UTILITIES                  $      267,340
                            6800-1 ꞏ CONTINUING MED EDUCATION
                               6802-1 ꞏ CME-FOOD                      $        3,171
                               6806-1 ꞏ CONTINUING EDUCATION          $       12,408
4:50 PM                                 Alaska Medical Specialties
01/10/20
                                                                                                         Exhibit A
Accrual Basis                          Combined Balance Sheet                       to Declaration of Tina Presley
   Case 20-00086   Filed 03/25/20      Entered     03/25/20
                                       Revised as of December 31,15:03:53
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                                 6807-1 ꞏ CME-TRAVEL
                                     6809-1 ꞏ CME-Travel-Airfare      $         12,318
                                     6810-1 ꞏ CME-Travel-Car Rental   $          1,216
                                     6813-1 ꞏ CME-Travel-Other        $            931
                                     6807-1 ꞏ CME-TRAVEL - Other      $             78
                                 Total 6807-1 ꞏ CME-TRAVEL            $         14,465
                                 6808-1 ꞏ CME-LODGING                 $         14,576
                                 6800-1 ꞏ CONTINUING MED EDUCATIO $                290
                              Total 6800-1 ꞏ CONTINUING MED EDUCAT $            45,440
                              6815-0 ꞏ TRAVEL & ENTERTAINMENT
                                 6400-1 ꞏ EMPLOYEE MEALS & ENTERT $              7,657
                                 6811-1 ꞏ LODGING                     $         20,835
                                 6812-1 ꞏ MEALS & ENTERTAINMENT $                   55
                                 6815-1 ꞏ TRAVEL
                                     6817-1 ꞏ Travel-Car Rental       $         18,240
                                     6817-1 ꞏ Travel-Car Rental       $          1,225
                                     6818-1 ꞏ Travel-Other            $          1,114
                                     6815-1 ꞏ TRAVEL - Other          $          6,781
                                 Total 6815-1 ꞏ TRAVEL                $         21,259
                              Total 6815-0 ꞏ TRAVEL & ENTERTAINMEN $            49,806
                              6820-1 ꞏ TAXES (Property & Other)
                                 6830-1 ꞏ FEDERAL                     $        138,175
                                 6840-1 ꞏ PERSONAL PROP TAXES         $         73,673
                                 6860-1 ꞏ STATE TAXES                 $          5,254
                              Total 6820-1 ꞏ TAXES (Property & Other) $        217,102
                              8900-0 ꞏ OTHER EXPENSE
                                 6235-1 ꞏ MEDICAL SOFTWARE SERVIC $            103,898
                                 6236-1 ꞏ NON-MEDICAL SOFTWARE S $              22,101
                                 6777-1 ꞏ LICENSES/FEES               $         22,552
                                 6778-1 ꞏ JANITORIAL/LINENS           $        171,586
                                 6804 ꞏ Professional Development      $            120
                                 6890-1 ꞏ PEST CONTROL                $          1,358
                                 6900-1 ꞏ ADVERTISING                 $        317,192
                                 6902-1 ꞏ MARKETING                   $          6,958
                                 6910-1 ꞏ RECRUITMENT                 $          4,098
                                 7900-1 ꞏ BANK CHARGES                $         90,544
                                 8000-1 ꞏ BAD DEBT EXPENSE            $        667,625
                                 8900-0 ꞏ OTHER EXPENSE - Other       $         28,597
                                 8999-1 ꞏ AP ADJ.                     $       (115,153)
                                 9996-1 ꞏ DONATIONS                   $          7,408
                                 8900-0 ꞏ OTHER EXPENSE - Other       $              0
                              Total 8900-0 ꞏ OTHER EXPENSE            $      1,328,885
                              9900-0 ꞏ INTEREST EXPENSE
                                 9910-1 ꞏ INT EXP-AUI LOAN w NR       $        420,744
                                 9912-1 ꞏ INT EXP- AUI LOAN w/USMD $            27,593
                                 9914-1 ꞏ INT EXP- DR LOAN w/NR       $         71,789
                                 9915-1 ꞏ INT EXP-DR. CLARK- PERS LN$           74,517
                                 9916-1 ꞏ INT EXP-DR. ALLEN- PERS LN $           6,228
                                 9917-1 ꞏ INT EXP- CLARK CC           $          5,374
                                 9920-1 ꞏ NORTHRIM AR FUNDING FEE $            318,397
                                 9995-1 ꞏ LOAN FEES                   $         32,959
                              Total 9900-0 ꞏ INTEREST EXPENSE         $        957,800
                              9900-11 ꞏ DEPRECIATION & AMORTIZATION
                                 9000-1 ꞏ DEPRECIATION EXPENSE-AU $           1,980,000
                              Total 9900-11 ꞏ DEPRECIATION & AMORT $          1,980,000
                           Total Expense                              $      24,303,507
                     Net Ordinary Income                                    ($3,162,552)
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                                                                 Alaska Medical Specialties                                                         Exhibit A
01/10/20
Accrual Basis                                                   Combined Balance Sheet                                         to Declaration of Tina Presley
                                                                 As of December 31, 2019
    Case 20-00086                 Filed 03/25/20             Entered    03/25/20 15:03:53                   Doc# 6            Page 16 of 39
                                                          Alaska Urological InstituteAlaska Cancer Treatment Center   Eliminations        TOTAL
          ASSETS
             Current Assets
                Checking/Savings
                    1101-1 ꞏ BANK-NR CHECKING-8244                     (82,681.85)                            0.06                           (82,682)
                    1105-1 ꞏ FNBA LOCK BX-CASH ACCT                        875.59                             0.00                               876
                    1106-1 ꞏ Wells Fargo                                   101.62                             0.00                               102
                    1108-1 ꞏ ACRC 9264-CASH ACCT                           191.88                             0.00                               192
                    1119-1 ꞏ NFS LOCK BOX                               97,754.39                        97,754.38                           195,509
                    1197-1 ꞏ BENTO FOR BUSINESS                          9,784.10                             0.00                             9,784
                Total Checking/Savings                                  26,025.73                        97,754.44                           123,780
                Accounts Receivable
                    1200-1 ꞏ NET AR-AUI ROLLUP
                        1201-1 ꞏ AR PATIENT SVCS - AUI               1,641,923.62                     1,173,741.27                          2,815,665
                        1202-1 ꞏ ALLOW FOR DOUBTFUL ACCTS             (337,301.18)                     (696,931.69)                        (1,034,233)
                    Total 1200-1 ꞏ NET AR-AUI ROLLUP                 1,304,622.44                       476,809.58                          1,781,432
                    1203-1 ꞏ AR OTHER - AUI                          3,665,363.52                             0.00                          3,665,364
                    1499-1 ꞏ UNAPPLIED DEPOSITS                         82,858.87                             0.00                             82,859
                Total Accounts Receivable                            5,052,844.83                       476,809.58                          5,529,654
                Other Current Assets
                    1256-1 ꞏ EMPLOYEE ADVANCE                          151,285.88                             0.00                           151,286
                    1299-1 ꞏ PREPAIDS
                        1295-1 ꞏ PREPAID INSURANCE                      93,782.89                        93,782.90                           187,566
                        1297-1 ꞏ PREPAID OTHER                          71,615.73                        71,615.73                           143,231
                    Total 1299-1 ꞏ PREPAIDS                            165,398.62                       165,398.63                           330,797
                    1320-1 ꞏ Inventory Asset
                        1321-1 ꞏ Breast Implant Inventory               22,038.90                             0.00                            22,039
                        1322-1 ꞏ Inventory - Injectables                33,273.00                             0.00                            33,273
                    Total 1320-1 ꞏ Inventory Asset                      55,311.90                             0.00                            55,312
                Total Other Current Assets                             371,996.40                       165,398.63                           537,395
             Total Current Assets                                    5,450,866.96                       739,962.65                         6,190,830
             Fixed Assets
                1303-1 ꞏ LEASEHOLD IMPROVEMENTS                        105,314.84                     2,501,194.67                          2,606,510
                1304-1 ꞏ MEDICAL EQUIPMENT                           2,781,748.17                             0.00                          2,781,748
                1305-1 ꞏ OFFICE EQUIPMENT                              229,237.48                             0.00                            229,237
                1306 ꞏ Building                                               0.00                        3,295.00                              3,295
                1307 ꞏ Capitalized Interest                                   0.00                      128,206.60                            128,207
                1308-1 ꞏ NHL188 CONSTRUCTION                         5,316,980.98                             0.00                          5,316,981
                1309-1 ꞏ PROCEDURE ROOM EQUIPMENT                      856,920.58                             0.00                            856,921
                1500-1 ꞏ SIGNAGE                                        93,426.39                             0.00                             93,426
                1501-1 ꞏ COMPUTER EQUIP                                675,192.46                        90,031.39                            765,224
                1502-1 ꞏ COMPUTER SOFTWARE                             287,065.36                        54,725.00                            341,790
                1503-1 ꞏ FURNITURE & FIXTURES                          249,468.40                       112,702.26                            362,171
                1504 ꞏ Equip Major Movable                                    0.00                    3,779,790.11                          3,779,790
                1505-1 ꞏ ARTWORK                                        80,932.65                             0.00                             80,933
                1506 ꞏ Communication                                          0.00                        6,455.87                              6,456
                1601-1 ꞏ ACCUM DEPRECIATION - AUI                   (8,882,015.37)                   (5,880,587.63)                       (14,762,603)
                Total 1600-1 ꞏ ACCUM DEP & AMORT ROLLUP              1,794,271.94                       795,813.27                          2,590,085
             Other Assets
                1256 ꞏ Employee PR Advance                                    0.00                       (1,438.87)                           (1,439)
                1261 ꞏ Due to/from AUI                                        0.00                  11,687,597.40       (11,361,139.83)      326,458
                1291-1 ꞏ SECURITY DEPOSIT-NHL188                        65,353.23                        15,092.00                            80,445
                1318-1 ꞏ LOAN CLOSING COSTS-AUI                         56,283.75                        69,256.00                           125,540
                1602-1 ꞏ ACCUM AMORT - AUI                             (30,151.82)                      (38,090.91)                          (68,243)
                1711-1 ꞏ INVESTMENT IN ACTC                          1,669,251.42                             0.00                         1,669,251
                1714-1 ꞏ INVESTMENT IN KENAI LITHO, LLC               (225,807.95)                            0.00                          (225,808)
             Total Other Assets                                      1,534,928.63                   11,732,415.62                          1,906,204
          TOTAL ASSETS                                               8,780,067.53                   13,268,191.54                         10,687,119
          LIABILITIES & EQUITY
             Liabilities
                Current Liabilities
                    Accounts Payable
                        2000-1 ꞏ ACCOUNTS PAYABLE                    2,313,977.76                       148,123.56                         2,462,101
                        2000 ꞏ Accounts Payable                         32,689.88                             0.00                            32,690
                    Total Accounts Payable                           2,346,667.64                       148,123.56                         2,494,791
                    Other Current Liabilities
                        2002 ꞏ Payroll Accrual                                0.00                       30,030.77                            30,031
                        2002-1 ꞏ PAYROLL ACCRUAL                        53,699.90                       511,855.44                           565,555
                        2014-1 ꞏ ACCRUED EXPENSE                        88,969.43                       206,452.83                           295,422
                        2045-1 ꞏ Unearned Revenue                        8,761.18                             0.00                             8,761
                        2100-1 ꞏ FWH/FICA/MEDICARE PAYABLE             719,441.88                       332,672.62                         1,052,115
                        2101-1 ꞏ FUTA PAYABLE                            6,760.54                         2,234.11                             8,995
                        2102-1 ꞏ ESC PAYABLE                            13,598.44                        12,216.75                            25,815
                        2104-1 ꞏ 401K PAYABLE-AUI                        3,814.07                        18,022.97                            21,837
                        2106-1 ꞏ ACCRUED PTO                           191,193.75                        38,822.60                           230,016
                        2109-1 ꞏ ACCRUED HSASAVINGS                        623.73                          (958.58)                             (335)
                        2210-1 ꞏ PROFIT SHARING PAYABLE                189,511.98                       204,270.09                           393,782
                        2900-0 ꞏ CURRENT DEBT
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                                                                 Alaska Medical Specialties                                                         Exhibit A
01/10/20
Accrual Basis                                                   Combined Balance Sheet                                         to Declaration of Tina Presley
                                                                 As of December 31, 2019
    Case 20-00086                 Filed 03/25/20             Entered    03/25/20 15:03:53                   Doc# 6            Page 17 of 39
                                                          Alaska Urological InstituteAlaska Cancer Treatment Center   Eliminations        TOTAL
                           2150-1 ꞏ CURRENT LTD-AUI LOANS              470,317.28                      498,616.35                            968,934
                           2904-1 ꞏ NORTHRIM AR FUNDING              1,077,620.56                    1,077,620.55                          2,155,241
                      Total 2900-0 ꞏ CURRENT DEBT                    1,547,937.84                    1,576,236.90                          3,124,175
                   Total Other Current Liabilities                   2,824,312.74                    2,931,856.50                          5,756,169
               Total Current Liabilities                             5,170,980.38                    3,079,980.06                          8,250,960
               Long Term Liabilities
                   2012-1 ꞏ ACCRUED GAAP RENT EXPENSE-A                407,089.33                      126,144.78                            533,234
                   2261-1 ꞏ DUE TO/(FROM) ACTC-NEW                  11,361,139.83                            0.00       (11,361,139.83)            0
                   2800-0 ꞏ LONG TERM DEBT
                      2800-1 ꞏ AUI LOAN w NR x3874                   2,595,563.86                    3,013,900.98                          5,609,465
                      2901-1 ꞏ PERSONAL LOAN-CLARK                     567,258.05                      536,700.37                          1,103,958
                      2903-1 ꞏ PERSONAL LOAN-ALLEN                      27,306.52                       64,963.13                             92,270
                      2920-1 ꞏ AUI LOAN w USMD                       1,066,469.76                            0.00                          1,066,470
                      2975-1 ꞏ LESS CURRENT LTD-AUI                   (470,317.30)                    (498,616.35)                          (968,934)
                   Total 2800-0 ꞏ LONG TERM DEBT                     3,786,280.89                    3,116,948.13                          6,903,229
               Total Long Term Liabilities                          15,554,510.05                    3,243,092.91                          7,436,463
            Total Liabilities                                       20,725,490.43                    6,323,072.97                         15,687,424
            Equity
               3000-1 ꞏ COMMON STOCK                                     1,000.00                            0.00                              1,000
               3050-1 ꞏ APIC                                         1,472,399.17                            0.00                          1,472,399
               3105-1 ꞏ 20% PURCHASE OF ACTC-NEW                    (1,884,362.82)                           0.00                         (1,884,363)
               32000 ꞏ Members Equity                                         0.00                   4,279,764.40                          4,279,764
               32000 ꞏ Retained Earnings                            (7,038,625.89)                     397,710.08                         (6,640,916)
               3210 ꞏ USMD CTC Capital                                        0.00                    (410,045.84)                          (410,046)
               3220 ꞏ CAPITAL BAL-AUI                                         0.00                   1,000,000.00                          1,000,000
               3302-1 ꞏ DISTRIBUTIONS-CLARK                               (796.14)                           0.00                               (796)
               Net Income                                           (4,495,037.22)                   1,677,689.93                         (2,817,347)
            Total Equity                                           (11,945,422.90)                   6,945,118.57                         (5,000,304)
          TOTAL LIABILITIES & EQUITY                                 8,780,067.53                   13,268,191.54                         10,687,119
Case 20-00086     Filed 03/25/20     Entered 03/25/20 15:03:53        Doc# 6     Page 18 of 39


  UCC SEARCH REQUEST                                                               2020-0114


  DISTRICT:               500
  REQUESTED NAME:         ALASKA UROLOGICAL INSTITUTE P C

  EMAIL:                  MARGARET@CCLAWYERS.NET
  RECEIVED DATE:          3/11/2020
  PROCESSED DATE:         3/12/2020
  RECEIPT NUMBER:         4606823




  The undersigned filing officer hereby certifies that the preceding page(s) are a listing of
  all ACTIVE and/or WILDCARD filings which name the above debtor and which are on file
  in the UCC CENTRAL FILE SYSTEM district.


  As of:         3/11/2020 4:00:00 PM


  Signed:

                 Recorder II



  NOTE: UCC documents are shown as 'active', 'lapsed', or 'wildcard'. Filings generally
  remain active in our system for one year after the lapse, even if terminated before the
  lapse date. If a filing is not continued within the designated time, the filing status will
  change from 'active' to 'lapsed' for one year. Review search results carefully.

  (A 'wildcard' reference means the filing does not tie to an 'active' filing; and, a filing
  shown as 'active' does not necessarily mean effective.)




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  DOCUMENT:         2012-746754-5                DEBTOR:
  ASSOC DOC:        2012-746754-5                ALASKA UROLOGICAL INSTITUTE P C
  STATUS:           ACTIVE                       1200 AIRPORT HEIGHTS DR STE 101
  DOC TYPE:         FS                           ANCHORAGE , AK 995082965
  DESCRIPTION:      FINANCING STATEMENT
  DATE:             10/19/2012                   SECURED:
  TIME:             08:48                        CARDINAL HEALTH
                                                 7000 CARDINAL PLACE
                                                 DUBLIN , OH 43017

  COMMENTS:         2236583769.PDF - RCPT: 3556146



  DOCUMENT:         2017-017367-2                SECURED:
  ASSOC DOC:        2012-746754-5                CARDINAL HEALTH
  STATUS:           ACTIVE
  DOC TYPE:         CO
  DESCRIPTION:      CONTINUATION
  DATE:             09/21/2017
  TIME:             10:14

   -------------------------------------- END OF SEQUENCE --------------------------------------


  DOCUMENT:         2013-761777-4                DEBTOR:
  ASSOC DOC:        2013-761777-4                ALASKA UROLOGICAL INSTITUTE P C
  STATUS:           ACTIVE                       188 W. NORTHERN LIGHTS BLVD.
  DOC TYPE:         FS                           SUITE 800 , AK 99503
  DESCRIPTION:      FINANCING STATEMENT
  DATE:             06/14/2013                   SECURED:
  TIME:             02:37                        NORTHRIM FUNDING SERVICES A DIVISION
                                                 OF NORTHRIM BANK
                                                 170 120TH AVE NE SUITE 202
                                                 BELLEVUE , WA 98005

                                                 DEBTOR:
                                                 ALASKA UROLOGICAL INSTITUTE PC
                                                 188 W NORTHERN LIGHTS BLVD
                                                 SUITE 800 , AK 99503

  COMMENTS:         1429221424.PDF - RCPT: 3675051
                    D; ADDRESS INDEXED AS PRESENTED




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  DOCUMENT:         2018-010406-1                SECURED:
  ASSOC DOC:        2013-761777-4                NORTHRIM FUNDING SERVICES A DIVISION
  STATUS:           ACTIVE                       OF NORTHRIM BANK
  DOC TYPE:         CO
  DESCRIPTION:      CONTINUATION
  DATE:             06/11/2018
  TIME:             02:53

   -------------------------------------- END OF SEQUENCE --------------------------------------


  DOCUMENT:         2015-022973-0                DEBTOR:
  ASSOC DOC:        2015-022973-0                ALASKA UROLOGICAL INSTITUTE P C
  STATUS:           ACTIVE                       188 WEST NORTHERN LIGHTS BLVD #800
  DOC TYPE:         FS                           ANCHORAGE , AK 99503
  DESCRIPTION:      FINANCING STATEMENT
  DATE:             12/18/2015                   SECURED:
  TIME:             11:10                        DE LAGE LANDEN FINANCIAL SERVICES INC
                                                 1111 OLD EAGLE SCHOOL ROAD
                                                 WAYNE , PA 19087




  DOCUMENT:         2016-000767-9                SECURED:
  ASSOC DOC:        2015-022973-0                DE LAGE LANDEN FINANCIAL SERVICES INC
  STATUS:           ACTIVE
  DOC TYPE:         AM
  DESCRIPTION:      AMENDMENT
  DATE:             01/15/2016
  TIME:             10:15

   -------------------------------------- END OF SEQUENCE --------------------------------------


  DOCUMENT:         2016-002534-8                DEBTOR:
  ASSOC DOC:        2016-002534-8                ALASKA UROLOGICAL INSTITUTE P C
  STATUS:           ACTIVE                       188 W NORTHERN LIGHTS BLVD STE 800
  DOC TYPE:         FS                           ANCHORAGE , AK 99503
  DESCRIPTION:      FINANCING STATEMENT
  DATE:             02/12/2016                   SECURED:
  TIME:             11:16                        DE LAGE LANDEN FINANCIAL SERVICES INC
                                                 1111 OLD EAGLE SCHOOL ROAD
                                                 WAYNE , PA 19087


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  DOCUMENT:         2016-012458-8                DEBTOR:
  ASSOC DOC:        2016-012458-8                ALASKA UROLOGICAL INSTITUTE P C
  STATUS:           ACTIVE                       188 W NORTHERN LIGHTS BLVD., #800
  DOC TYPE:         FS                           ANCHORAGE , AK 99503
  DESCRIPTION:      FINANCING STATEMENT
  DATE:             07/01/2016                   SECURED:
  TIME:             12:12                        NORTHRIM BANK
                                                 PO BOX 241489
                                                 ANCHORAGE , AK 99524


   -------------------------------------- END OF SEQUENCE --------------------------------------


  DOCUMENT:         2016-018016-8                DEBTOR:
  ASSOC DOC:        2016-018016-8                ALASKA UROLOGICAL INSTITUTE P C
  STATUS:           ACTIVE                       188 W. NORTHERN LIGHTS BLVD., SUITE
  DOC TYPE:         FS                           800
  DESCRIPTION:      FINANCING STATEMENT          ANCHORAGE , AK 99503
  DATE:             09/27/2016
  TIME:             10:38                        SECURED:
                                                 MCKESSON CORPORATION AND ITS
                                                 AFFILIATES
                                                 401 MASON ROAD
                                                 LA VERGNE , TN 37086


   -------------------------------------- END OF SEQUENCE --------------------------------------


  DOCUMENT:         2019-006852-2                DEBTOR:
  ASSOC DOC:        2019-006852-2                ALASKA UROLOGICAL INSTITUTE P C
  STATUS:           ACTIVE                       188 W NORTHERN LIGHTS BLVD, STE 800
  DOC TYPE:         FS                           ANCHORAGE, AK 99503
  DESCRIPTION:      FINANCING STATEMENT
  DATE:             04/22/2019                   SECURED:
  TIME:             11:07                        NORTHRIM BANK
                                                 3111 C ST, PO BOX 241489
                                                 ANCHORAGE, AK 995241489

  COMMENTS:         19047TAPBQG - RCPT: 4489661

   -------------------------------------- END OF SEQUENCE --------------------------------------




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  DOCUMENT:         2019-013188-2                DEBTOR:
  ASSOC DOC:        2019-013188-2                ALASKA UROLOGICAL INSTITUTE P C
  STATUS:           ACTIVE                       188 W NORTHERN LIGHTS BLVD., STE.800
  DOC TYPE:         FS                           ANCHORAGE, AK 99503
  DESCRIPTION:      FINANCING STATEMENT
  DATE:             07/24/2019                   SECURED:
  TIME:             11:30                        NORTHRIM BANK
                                                 PO BOX 241489
                                                 ANCHORAGE, AK 99524

  COMMENTS:         1907GB8YEJN - RCPT: 4517199

   -------------------------------------- END OF SEQUENCE --------------------------------------




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 March L5,2O2O

 Dr. William R. Clark, Owner
 Alaska Medical Center, tLC
 dba Aurora Surgery Center
 Suite 110, 188 W. Northern Lights Blvd.
 Anchorage, AK 99503


 Re: Premises, Equipment and Personnel Leases


 Dear Dr. Clark,


Further to our letter of June 1,2079 regarding the captioned leases, this is to confirm our agreement regarding the
changes in rental fees established last June.


The changes we agreed to at the last writing were as follows:

         o     Effective immediately (June 1, 2019), AMC will lease the three noted items on Tuesday and Wednesday each
               week. The remaining days will be available to AUI for its use in any manner it chooses.


         .     lt has been further agreed that if AMC fills its schedule for Tuesday and Wednesday and needs additional
               time in the center for surgeries/procedures, AUI will adjust its schedule and provide all three items noted in
               the leases. AMC will provide adequate notice to AUI when the need for additional time is identified in order
               that AUI can ensure the required staff is in place.

         o     AUI has agreed to reduce the monthly rent for premises and equipment to 5125.00 per case.


         o     AUI has also agreed to reduce its monthly management fee to 5.00%.


        r      The rental fees for staff continue at actual hourly costs or salary plus twenty five percent (25.00%) to cover
               taxes and benefits.



Sincerely,




Tina Presley
Chief Executive Officer                                       Acknowledged and Accepted
(9071276-2844                                                 William   R.   Clark, MD




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 June 1, 2019

 Dr. William R. Clark
 Owner
 Alaska Medical Center, LLC
 dba Aurora Surgery Center
 Suite 110, 188 W. Northern Lights Blvd.
 Anchorage, AK 99503

 Re: Premises, Equipment and Personnel Leases

 Dear Dr. Clark,

 We are writing today to confirm our discussions regarding the leases for space, equipment and
 personnel between Alaska Urological Institute, P.C. (AUI) and Alaska Medical Center, LLC (AMC).
 Effective immediately (June 1, 2019), AMC will be leasing the three noted items on Tuesday and
 Wednesday each week. The remaining days will be available to AUI for its use in any manner it chooses.

 It has been further agreed that if AMC fills its schedule for Tuesday and Wednesday and needs
 additional time in the center for surgeries/procedures, AUI will adjust its schedule and provide all three
 items noted in the leases. AMC will provide adequate notice to AUI when the need for additional time is
 identified in order that AUI can ensure the required staff is in place.

 AUI has agreed to reduce the monthly rent for space and equipment to $125.00 per case. AUI has also
 agreed to reduce its monthly management fee to 5.00%. These changes are effective June 1, 2019.



 Sincerely,




 Tina Presley
 Chief Executive Officer
 (907) 276‐2844                                           ____________________________________
                                                          Acknowledged and Accepted
                                                          William R. Clark, MD




                                                                                                Exhibit C
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